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  EXHIBIT “D”
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       DEFICIENCIES IN “REVISED ANSWERS AND OBJECTIONS”
   OF THE ZEKARIA DEFENDANTS TO PLAINTIFF’S INTERROGATORIES


1. The Zekaria Defendants failed to fully answer Interrogatory No. 1:
   (a) they failed to state how each sum was received (e.g., wire transfer, check, etc)
   (b) they failed to state the reason for their receipt of each sim


2. The Zekaria Defendants failed to fully answer Interrogatory No. 2:
   (a) they claim that all “monies were distributed in accordance with Mr. Weiss’
       instructions,” but the documents referenced do not set forth their disposition of the
       entire $2,351,960 that was delivered to Zekaria, including the $120,000 that Daphna
       retained as her “fee” (per DZ D/E—9, at page DZ-000002)


3. The Zekaria Defendants failed to fully answer Interrogatory No. 3:
   (a) they fail to fully account for the disposition of the entire $2,351,960 that was delivered
       to Zekaria, including the $120,000 that Daphna retained as her “fee” (per DZ D/E—9,
       at page DZ-000002)
   (b) they fail to state, for each disbursement, the name and bank account number for each
       disbursement
   (c) they fail to state, for each disbursement, who authorized each such disbursement
   (d) they fail to state, for each disbursement, the purpose or reason the money was sent
   (e) they fail to state, for each disbursement, the contact information for each recipient of
       funds
   (f) they fail to state, whether any disbursement was made to Rob Kuby, Esquire, and if so,
       to provide the aforesaid details for each disbursement made to him
   (g) they fail to state, whether any disbursement was made to Aaron Schlesinger, Esquire,
       and if so, to provide the aforesaid details for each disbursement made to him


4. The Zekaria Defendants failed to fully answer Interrogatory No. 4:
   (a) Daphna testified under oath on April 2, 2024, that she printed out a copy of her
       retainer/escrow agreement with Mr. Weiss, and that it is among the documents in her
       office – so either produce that document or admit that her sworn testimony on 4/2 was
       false
   (b) In addition, if Daphna printed out a copy of the agreement from her computer, it still
       should be in her computer
   (c) NO EMAILS WERE PRODUCED BY THE ZEKARIA DEFENDANTS – the
       agreement should be in an email from Daphna to Gary Weiss –WHERE ARE ALL THE
       EMAILS TO OR FROM DAPHNA, AND WEISS, SAM, AND/OR MANFRED?




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5. The Zekaria Defendants failed to answer Interrogatory No. 5:
   (a) Zekaria improperly asserted an Objection to this Interrogatory, in violation of Judge
       Younge’s 4/1/24 Order
   (b) Zekaria has no basis to refuse to describe the nature and extent of her relationship with
       the Gross Defendants
   (c) Zekaria has no basis to refuse to describe the nature and extent of her relationship with
       the Sternberg Defendants
   (d) Zekaria has no basis to refuse to describe the nature and extent of her relationship with
       the Weiss Defendants, including as respects the lawsuit described in DZ D/E-8
   (e) In addition, Zekaria failed to produce a Privilege Log as to each claim of attorney-client
       privilege (and whether an attorney represents a client in a particular case or matter is
       NOT attorney-client privileged


6. The Zekaria Defendants failed to answer Interrogatory No. 6:
   (a) The response given – that Zekaria “did not receive or retain any commission or other
       revenue” is directly contradictory to her statement in the WhatsApp texts, about her
       retaining $120,000 from the $250,000 wire from Manfred as her “fee” (per DZ D/E—
       9, at page DZ-000002)


7. The Zekaria Defendants failed to answer Interrogatory No. 7:
   (a) The questions asks for information pertaining to each communication Daphna had,
       authorizing each disbursement, including date and author, and including the email that
       Daphna told counsel for plaintiff on 10/2/21 that Sternberg sent to her, in which he
       stated that she could release the escrow funds because the goods purchased by plaintiff
       had been delivered, and including her 4/2/24 testimony under oath that Manfred
       authorized her to release funds from escrow -- the Zekaria response, referring to
       documents produced, does NOT contain this information


8. The Zekaria Defendants failed to answer Interrogatory No. 8:
   (a) The question asks Daphna to identify all documents and communications that would
       establish the liability of the Sternberg Defendants, that Daphna told undersigned
       counsel on 10/2/23 that she had – Daphna’s response – that she is unable to locate the
       responsive documents -- fails to provide the information responsive to the question; she
       still has to identify the documents and communications, even if as she claims she can’t
       locate any actual responsive documents)


9. The Zekaria Defendants failed to answer Interrogatory No. 9:
   (a) The question asks Daphna to identify all documents and communications that Daphna
       told undersigned counsel on 10/2/23 that she had, that would establish that Manfred
       was the “mastermind” of the transactions. Daphna’s response – that she is unable to
       locate the responsive documents -- fails to provide the information responsive to the




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       question; she still has to identify the documents and communications, even if as she
       claims she can’t locate any actual responsive documents)


10. The Zekaria Defendants failed to answer Interrogatory No. 10:
    (a) The question asks Daphna to identify all documents and communications that relate to
        Daphna’s receipt of the diamonds or gemstones or collateral. Daphna’s response – that
        she is unable to locate the responsive documents -- fails to provide the information
        responsive to the question -- she still has to identify the documents and communications
        pertaining to her acquisition of diamonds and gemstones, even if as she claims she can’t
        locate any actual responsive documents)


11. The Zekaria Defendants failed to answer Interrogatory No. 11:
    (a) The question asks Daphna to identify all documents and communications that relate to
        Daphna’s disposition of the diamonds or gemstones or collateral. Daphna’s response –
        that she is unable to locate the responsive documents -- fails to provide the information
        responsive to the question -- she still has to identify the documents and communications
        pertaining to her subsequent disposition of the diamonds and gemstones, even if as she
        claims she can’t locate any actual responsive documents)

12. [answer to Interrogatory 12 not objectionable]

13. The Zekaria Defendants failed to answer Interrogatory No. 13:
    (a) Zekaria improperly asserted an Objection to this Interrogatory, in violation of Judge
        Younge’s 4/1/24 Order
    (b) Zekaria has no basis to refuse to describe the nature and extent of her legal
        representation of the Gross Defendants
    (c) In addition, Zekaria failed to produce a Privilege Log as to each claim of attorney-client
        privilege (and whether an attorney represents a client in a particular case or matter is
        NOT attorney-client privileged

14. The Zekaria Defendants failed to answer Interrogatory No. 14:
    (a) Zekaria improperly asserted an Objection to this Interrogatory, in violation of Judge
        Younge’s 4/1/24 Order
    (b) Zekaria has no basis to refuse to describe the nature and extent of her legal
        representation of the Weiss Defendants
    (c) In addition, Zekaria failed to produce a Privilege Log as to each claim of attorney-client
        privilege (and whether an attorney represents a client in a particular case or matter is
        NOT attorney-client privileged




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         DEFICIENCIES IN “REVISED ANSWERS AND OBJECTIONS”
OF THE ZEKARIA DEFENDANTS TO PLAINTIFF’S DOCUMENT REQUESTS

  1. IN GENERAL—Where are the emails to or from Daphna, and the Weiss Defendants,
     and/or the Gross Defendants, and/or Manfred Sternberg? None have been produced by
     Daphna (although other defendants have produced some of those responsive documents).

  2. IN GENERAL—Where are the text messages (other than the one string of WhatsApp
     messages)? None have been produced by Daphna (although other defendants have
     produced some of those responsive documents).

  3. Document Request no. 2 asks for documents evidencing wires of transfers of funds
     pertaining to the purchase of iCovid test kits. Zekaria’s response is not responsive – if you
     disagree, then cite the actual documents that reference purchases of iCovid test kits.

  4. Document Request No. 4 requests Zekaria’s complete electronic files and paper file
     documents concerning the Weiss Defendants. Zekaria’s response – referring to the 35
     pages of documents previously produced, cannot comprise her entire electronic and paper
     files for the Weiss Defendants.

  5.    Document Request No. 5 requests Zekaria’s complete electronic files and paper file
       documents concerning the Gross Defendants.           First, Zekaria improperly asserts an
       objection, in violation of the Court’s 4/1/24 Order compelling discovery. Second, even if
       an attorney-client (“A/C”) objection was proper (which we dispute), no privilege Log was
       produced as respects any documents withheld on the basis of A/C privilege. More
       fundamentally, Zekaria is required to produce the requested documents.

  6. Document Request No. 5 requests Zekaria’s complete electronic files and paper file
     documents concerning the Sternberg Defendants. Zekaria’s response – referring to the 35
     pages of documents previously produced, cannot comprise her entire electronic and paper
     files for the Sternberg Defendants. For example, where is Daphna’s 3/1/22 email to
     Manfred that was produced by Manfred and marked as MS D/E-38? Or the cc of Manfred’s
     email that he sent to Daphna that same day? There are NUMEROUS emails that Zekaria
     has failed and refused to produce.

  7. Document Request No. 15 requests Zekaria’s documents relating to the sale of any Covid
     test kits, and Document Request No. 16 requests Zekaria’s documents with Sternberg
     relating to the sale of any Covid test kits,. Zekaria’s responses to these Document Requests
     – “none in the possession of [Zekaria]” -- is false – see item no. 6 above, for example.

  8. Document Request No. 22 requests Zekaria’s documents relating to any bill of sale for
     Covid test kits. Zekaria’s response to this Document Request – “none in the possession of
     [Zekaria]” -- is false – in the WhatsApp document (per DZ D/E—9, at page DZ-000002),
     Daphna asks for the invoice from Weiss to Charlton




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9. Document Request No. 29 requests Zekaria’s documents relating to her receipt of any
   diamonds or gemstones, and Document Request No. 30 requests Zekaria’s documents
   relating to her subsequent disposition of any diamonds or gemstones. Zekaria’s responses
   to these Document Requests, referring to DZ -13 through DZ-16, are not responsive to the
   Document Requests.

10. Document Request No. 53 asks for documents evidencing any other claims made against
    Zekaria similar to plaintiff’s claims. Zekaria’s response to this Document Request – “none
    in the possession of [Zekaria]” -- is false – see item no. 6, above.




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